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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                                    CASE NO: 6:11-cr-154-Orl-22KRS

ROBERTO JOSE SEGARRA-
GARCIA


                                  ORDER AND NOTICE
                               OF SHOW CAUSE HEARING

       This cause comes before the Court on a Report and Recommendation (Doc. No. 139),

entered by the Magistrate Judge after conducting a Final Probation Revocation Hearing pursuant

to Local Rule 6.01(c)(16) on December 9, 2015.

       After an independent de novo review of the record in this matter, and noting that

Defendant requests an expedited sentencing hearing, the Court agrees entirely with the findings

of fact and conclusions of law in the Report and Recommendation.

       Therefore, it is ORDERED as follows:

       1.     The Report and Recommendation entered December 9, 2015 (Doc. No. 139), is

ADOPTED and CONFIRMED and made a part of this Order.

       2.     Defendant shall personally appear before this court on WEDNESDAY,

December 16, 2015, at 12:00 P.M., at the George C. Young U.S. Courthouse & Federal

Building, 401 W. Central Boulevard, Sixth Floor, Courtroom 6A, Orlando, Florida, 32801, and

shall show cause why supervised release should not be revoked.
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       DONE and ORDERED in Chambers, Orlando, Florida on December 9, 2015.




Copies furnished to:

Counsel of Record
United States Magistrate Judge
United States Marshals Service
United States Probation Office
Courtroom Deputy
Roberto Jose Segarra-Garcia




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